Case 2:05-cr-80955-DML-RSW ECF No. 1232, PageID.7359 Filed 09/28/09 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 WAYNE DARNELL JOYNER,
     Petitioner,
                                                       Case No. 05-80955-34
 v.                                                    Hon: AVERN COHN

 UNITED STATES OF AMERICA,
      Respondent.
 ___________________________________/


      ORDER DENYING AS MOOT MOTION TO PROCEED AS “AMICUS CURIAE”
                  AND MOTION FOR DEFAULT JUDGMENT

        This is a criminal case. On August 21, 2008, defendant was sentenced to a

 custody term of 168 months on his plea of guilty to violations of 21 USC §§841(a)(1),

 841(b)(1)(A)(ii)(II) and 846. On August 7, 2009, defendant filed a motion to vacate

 under 28 U.S.C. § 2255 and a paper styled “Motion to Proceed as ‘Amicus Curiae.’” The

 Court denied the motion under §2255 and closed the case. See Judgment filed

 September 25, 2009. Defendant then filed a motion for default judgment. Because this

 case is closed, defendant’s motion to proceed amicus curiae and motion for default

 judgment, both of which are virtually unintelligible, are DENIED AS MOOT.

        SO ORDERED.


 Dated: September 28, 2009                 s/ Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


 I hereby certify that a copy of the foregoing document was mailed to Wayne Darnell
 Joyner, #40683-039, FCI Lompoc, 3600 Guard Road, Lompoc, CA 93436 and the
 attorneys of record on this date, September 28, 2009, by electronic and/or ordinary mail.

                                           s/ Julie Owens
                                          Case Manager, (313) 234-5160
